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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN


   TIMOTHY KING, et al.,

                        Plaintiffs,                CIVIL ACTION

             v.                                    No. 2:20-cv-13134-LVP-RSW

   GRETCHEN WHITMER, in her official               Hon. Linda V. Parker
   capacity as Governor of the State of
   Michigan, et al.,

                        Defendants.




                                      APPEARANCE


         Notice is hereby given that Eugene Driker of Barris, Sott, Denn & Driker, PLLC,

enters his appearance in this matter for Amicus Curiae Michigan State Conference

NAACP, for purposes of receiving papers filed with the Court, notices and orders from the

Court.

 Dated: December 3, 2020                      Respectfully submitted,


 BARRIS, SOTT, DENN & DRIKER,                 Kristen Clarke (pro hac vice pending)
 PLLC                                         Jon Greenbaum (pro hac vice pending)
                                              Ezra Rosenberg (pro hac vice pending)
 By: ___/s/ Eugene Driker_________            Julie Houk (pro hac vice pending)
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                           CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2020, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will automatically send
notification of such filing to all attorneys of record registered for electronic filing.

                                                      __/s/ Eugene Driker__________
